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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2025, I caused the foregoing to be electronically filed with

the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

participants.

       I further certify that I caused copies of the foregoing document to be served on

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